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UNITED sTATEs oF AMERICA, sip ;,-j: |,_;-DH
Plaintiff,

v. No. 05-20082-B

RODERCUS FREEMAN,

Defendant.

 

ORDER DISMISSING TRIAL COUNSEL

 

Before the Court is the motion of the United States to dismiss court appointed counsel
as attorney for the Defendant, Rodercus Freeman. Freeman Was charged in a one count
indictment with bank robbery of a federal credit union in violation of 18 U.S.C. § 2113(a). He
was appointed a federal public defender to represent him and was held without bond. The
government filed a motion to have court appointed counsel dismissed based upon the fact that
defense counsel may be called as a witness against Freeman for actions that occurred subsequent
to his incarceration

According to the government’s motion, certain information was provided to defense
counsel in discovery which included the name and address of a witness who apparently worked
for the credit union at the time of its alleged robbery. Furthermore, according to the motion,
defense counsel submitted a copy of that information to Defendant and shortly thereafter, a letter
threatening this witness with bodily injury or death was sent to her at the address contained on
the documents given to defense counsel by the government According to the United States, the

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only way that the name and address of this witness could have been known by the Defendant
would have been based upon that information provided to him from his attorney.

A hearing was conducted on the government’s motion on August 17, 2005. At that time,
defense counsel opposed the motion indicating that Freeman desired him to remain as his
attorney and stating that the Defendant was willing to stipulate that his attorney sent such
information to him (the Defendant). However, the government indicated that they desired to call
defense counsel based on the fact that such stipulation might later be withdrawn and that the
government desired to introduce direct evidence of this submission by defense counsel to his
client in order to establish that fact before a jury.

Upon consideration of the statements of counsel and the government’s motion, the Court
was of the opinion that the government should be permitted to call as a witness in any
subsequent criminal proceeding defense counsel to establish the fact that he had submitted
information to his client which could have been utilized in sending a threatening letter by the
Defendant to a witness in this present case. Consequently, the Court determined that present
defense counsel could no longer represent Freeman inasmuch as he may very well be a witness
against the Defendant in a subsequent criminal proceeding against Freeman.

Accordingly, for the reasons stated herein, the government’s motion to dismiss defense
counsel is GRANTED. The Court will appoint a new attorney from the CJA panel and once
that attorney has been selected, the Court will set hearings on the Defendant’s motion to

suppress as well as his request for review of the detention order.

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IT IS SO ORDERED this 156 day Of August, 2005.

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. DANIEL BREEN
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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

